            Case 1:20-cr-00235-JLT-SKO Document 29 Filed 12/17/20 Page 1 of 5


 1 MCGREGOR W. SCOTT
   United States Attorney
 2 JESSICA A. MASSEY
   Assistant United States Attorney
 3 2500 Tulare Street, Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4099
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                           CASE NO. 1:20-CR-00235-NONE-SKO-4
12                                Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                         TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                          v.                           FINDINGS AND ORDER
14   FRANCISCO CASTILLO ALCARAZ                          CURRENT DATE: December 17, 2020
                                                         TIME: 2:00 p.m.
15                                Defendant.             COURT: Hon. Stanley A. Boone
16

17                                             STATUS REPORT

18          Defendant FRANCISCO CASTILLO ALCARAZ (“defendant”) was arraigned on the indictment

19 on December 10, 2020 (Doc. No. 7). The government moved to have the defendant detained on the

20 bases of flight and danger. Defense counsel, Alekxia Torres (standing in for defense counsel David A.
21 Torres), requested a continuance to December 17, 2020; the Court ordered the defendant temporarily

22 detained until that date. The parties have stipulated to retroactively exclude time from December 10,

23 2020, through December 17, 2020.

24          This case is set for detention hearing on December 17, 2020. On May 13, 2020, this Court

25 issued General Order 618, which suspends all jury trials in the Eastern District of California until further

26 notice, and allows district judges to continue all criminal matters. This and previous General Orders
27 were entered to address public health concerns related to COVID-19.

28          Although the General Orders address the district-wide health concern, the Supreme Court has

                                                         1
30
            Case 1:20-cr-00235-JLT-SKO Document 29 Filed 12/17/20 Page 2 of 5


 1 emphasized that the Speedy Trial Act’s end-of-justice provision “counteract[s] substantive

 2 openendedness with procedural strictness,” “demand[ing] on-the-record findings” in a particular case.

 3 Zedner v. United States, 547 U.S. 489, 509 (2006). “[W]ithout on-the-record findings, there can be no

 4 exclusion under” § 3161(h)(7)(A). Id. at 507. Moreover, any such failure cannot be harmless. Id. at

 5 509; see also United States v. Ramirez-Cortez, 213 F.3d 1149, 1153 (9th Cir. 2000) (explaining that a

 6 judge ordering an ends-of-justice continuance must set forth explicit findings on the record “either orally

 7 or in writing”).

 8           Based on the plain text of the Speedy Trial Act—which Zedner emphasizes as both mandatory

 9 and inexcusable—General Orders 611, 612, 617, and 618 require specific supplementation. Ends-of-
10 justice continuances are excludable only if “the judge granted such continuance on the basis of his

11 findings that the ends of justice served by taking such action outweigh the best interest of the public and

12 the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). Moreover, no such period is excludable

13 unless “the court sets forth, in the record of the case, either orally or in writing, its reason or finding that

14 the ends of justice served by the granting of such continuance outweigh the best interests of the public

15 and the defendant in a speedy trial.” Id.

16           The General Orders exclude delay in the “ends of justice.” 18 U.S.C. § 3161(h)(7) (Local Code

17 T4). Although the Speedy Trial Act does not directly address continuances stemming from pandemics,

18 natural disasters, or other emergencies, this Court has discretion to order a continuance in such

19 circumstances. For example, the Ninth Circuit affirmed a two-week ends-of-justice continuance

20 following Mt. St. Helens’ eruption. Furlow v. United States, 644 F.2d 764 (9th Cir. 1981). The court
21 recognized that the eruption made it impossible for the trial to proceed. Id. at 767-68; see also United

22 States v. Correa, 182 F. Supp. 326, 329 (S.D.N.Y. 2001) (citing Furlow to exclude time following the

23 September 11, 2001, terrorist attacks and the resultant public emergency). The coronavirus is posing a

24 similar, albeit more enduring, barrier to the prompt proceedings mandated by the statutory rules.

25           In light of the societal context created by the foregoing, this Court should consider the following

26 case-specific facts in finding excludable delay appropriate in this particular case under the ends-of-
27 justice exception, § 3161(h)(7) (Local Code T4). 1 If continued, this Court should designate a new date

28           1
              The parties note that General Order 612 acknowledges that a district judge may make
     “additional findings to support the exclusion” at the judge’s discretion. General Order 612, ¶ 5 (E.D.
                                                          2
30
            Case 1:20-cr-00235-JLT-SKO Document 29 Filed 12/17/20 Page 3 of 5


 1 for the status conference. United States v. Lewis, 611 F.3d 1172, 1176 (9th Cir. 2010) (noting any

 2 pretrial continuance must be “specifically limited in time”).

 3                                                STIPULATION

 4          Plaintiff United States of America, by and through its counsel of record, and defendant

 5 FRANCISCO CASTILLO ALCARAZ, by and through defendant’s counsel of record, David A. Torres,

 6 hereby stipulate as follows:

 7          1.      By previous order, this matter was set for detention hearing on December 17, 2020.

 8          2.      By this stipulation, the parties agree to retroactively exclude time between December 10,

 9 2020, and December 17, 2020, under Local Code T4.
10          3.      While the parties anticipate that the case may resolve without a trial, this is not yet a

11 certainty. If defendant ultimately does not enter a guilty plea and decides to proceed to trial, the parties

12 agree and stipulate, and request that the Court find the following:

13                  a)       The government asserts the discovery associated with this case includes reports,

14          photographs, and numerous recordings; discovery will be provided to counsel and/or made

15          available for review.

16                  b)       The government anticipates it will provide a plea offer to the defendant through

17          counsel.

18                  c)       Counsel for defendant desires additional time to consult with his client, to review

19          the current charges, to conduct investigation and research related to the charges, to review and/or

20          copy discovery for this matter, to discuss potential resolutions with his client, to prepare pretrial

21          motions, and to otherwise prepare for trial.

22                  d)       Based on the above-stated findings, the ends of justice served by excluding time

23          as requested outweigh the interest of the public and the defendant in a trial within the original

24          date prescribed by the Speedy Trial Act.

25                  e)       For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

26          et seq., within which trial must commence, the time period of December 10, 2020, to December

27          17, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local

28
     Cal. March 18, 2020).
                                                           3
30
           Case 1:20-cr-00235-JLT-SKO Document 29 Filed 12/17/20 Page 4 of 5


 1          Code T4], because it results from a continuance granted by the Court at defendant’s request on

 2          the basis of the Court’s finding that the ends of justice served by taking such action outweigh the

 3          best interest of the public and the defendant in a speedy trial.

 4          4.     Nothing in this stipulation and order shall preclude a finding that other provisions of the

 5 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

 6 must commence.

 7

 8          IT IS SO STIPULATED.

 9
     Dated: December 16, 2020                                 MCGREGOR W. SCOTT
10                                                            United States Attorney
11                                                            /s/ JESSICA A. MASSEY
                                                              JESSICA A. MASSEY
12                                                            Assistant United States Attorney
13

14                                                            /s/ DAVID A. TORRES (with
     Dated: December 16, 2020                                 authorization)
15                                                            DAVID A. TORRES, Counsel
                                                              for Defendant FRANCISCO
16                                                            CASTILLO ALCARAZ
17

18                                          FINDINGS AND ORDER
19          The Court makes the following findings:
20          1.     By previous order, this matter was set for detention hearing on December 17, 2020.
21          2.     By stipulation, the parties have agreed to retroactively exclude time between December
22                 10, 2020, and December 17, 2020.
23          3.     If defendant ultimately does not enter a guilty plea and decides to proceed to trial, the
24                 parties have stipulated to the following:
25          a)     The government asserts the discovery associated with this case includes reports,
26                 photographs, and numerous recordings; discovery will be provided to counsel and/or
27                 made available for review.
28          b)     The government anticipates it will provide a plea offer to the defendant through counsel.

                                                          4
30
            Case 1:20-cr-00235-JLT-SKO Document 29 Filed 12/17/20 Page 5 of 5


 1          c)      Counsel for defendant desires additional time to consult with his client, to review the

 2                  current charges, to conduct investigation and research related to the charges, to review

 3                  and/or copy discovery for this matter, to discuss potential resolutions with his client, to

 4                  prepare pretrial motions, and to otherwise prepare for trial.

 5          4.      Based on the above-stated findings, the Court finds that the ends of justice served by

 6                  excluding time as requested outweigh the interest of the public and the defendant in a

 7                  trial within the original date prescribed by the Speedy Trial Act.

 8          Accordingly, IT IS HEREBY ORDERED that for the purpose of computing time under the

 9 Speedy Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of
10 December 10, 2020, to December 17, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§

11 3161(h)(7)(A), B(iv), because it results from a continuance granted by the Court at defendant’s request

12 on the basis of the Court’s finding that the ends of justice served by taking such action outweigh the best

13 interest of the public and the defendant in a speedy trial.

14
     IT IS SO ORDERED.
15

16 Dated:        December 16, 2020
                                                        UNITED STATES MAGISTRATE JUDGE
17

18

19

20
21

22

23

24

25

26
27

28

                                                          5
30
